   CASE 0:25-cr-00153-JWB-DJF          Doc. 10     Filed 04/18/25   Page 1 of 1




                UNITED STATES DISTRICT COURT
                   DISTRICT OF MINNESOTA
 UNITED STATES OF AMERICA,                )    Criminal No. 25-153(1) JWB/DJF
                                          )
                          Plaintiff,      )
       v.                                 )    NOTICE OF APPEARANCE
                                          )
 MICHAEL PAUL LEWIS,                      )
                                          )
                        Defendant.



      Pursuant to the Court’s order appointing counsel, the undersigned attorney

hereby notifies the Court and counsel that Kate Adams shall appear as appointed

counsel of record for the above named defendant in this case.



Dated: April 18, 2025                         s/Kate Adams
                                              KATE ADAMS
                                              Attorney ID No. 1617650DC
                                              Attorney for Defendant
                                              Office of the Federal Defender
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415
